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 6
                           IN THE UNITED STATES DISTRICT COURT
 7                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 8
     WANDA HENRY,                                   ) Case No.: '13CV0842 BTM NLS
 9                                                  )
                     Plaintiff,                     ) COMPLAINT
10                                                  )
     v.                                             ) (Unlawful Debt Collection Practices)
11                                                  )
     GC SERVICES, LP,                               )
12                                                  )
                     Defendant.                     )
13                                                  )
14           WANDA HENRY (“Plaintiff”), by her attorneys, KROHN & MOSS, LTD., alleges the
15   following against GC SERVICES, LP (“Defendant”):
16                                          INTRODUCTION
17        1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act
18           (“FDCPA”), 15 U.S.C. § 1692, et seq.
19        2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection
20           Practices Act (“RFDCPA”), Cal. Civ. Code § 1788, et seq.
21                                   JURISDICTION AND VENUE
22        3. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such
23           actions may be brought and heard before “any appropriate United States district court
24           without regard to the amount in controversy,” and 28 U.S.C. § 1367 grants this court
25           supplemental jurisdiction over the state claims contained therein.


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 1    4. Defendant conducts business in the State of California establishing personal jurisdiction.
 2    5. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 3                                            PARTIES
 4    6. Plaintiff is a natural person residing in San Marcos, San Diego County, California.
 5    7. Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3).
 6    8. Plaintiff owes or allegedly owes a debt as that term is defined by 15 U.S.C. § 1692a(5)
 7       and Cal. Civ. Code § 1788.2(h).
 8    9. Defendant is a business entity with an office located at 6330 Gulfton St., Houston, Texas
 9       77081.
10    10. Defendant is a debt collector as that term is defined by 15 U.S.C. § 1692a(6) and Cal.
11       Civ. Code § 1788.2(c), and sought to collect a consumer debt from Plaintiff.
12    11. Defendant acted through its agents, employees, officers, members, directors, heirs,
13       successors, assigns, principals, trustees, sureties, subrogees, representatives, and
14       insurers.
15                                  FACTUAL ALLEGATIONS
16    12. Defendant is attempting to collect an alleged debt from Plaintiff.
17    13. Defendant is attempting to collect a debt that arises from transactions which were for
18       personal, family and/or household purposes.
19    14. In its collection attempts, Defendant placed telephone calls to Plaintiff at her place of
20       residence, telephone number (760) 598-xxxx.
21    15. When Plaintiff was not able to answer Defendant’s call, Defendant would leave Plaintiff
22       a voice message.
23    16. Around the end of January 2013, Defendant called Plaintiff and left her a voice message
24       on her answering machine. See transcribed message, attached hereto as Exhibit A.
25    17. Defendant stated that it was “very important” for Plaintiff to return its call, and provided


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 1         Plaintiff with telephone number (866) 862-2793, a telephone number belonging to
 2         Defendant. See Exhibit A.
 3      18. Defendant never identified its company name in the message. See Exhibit A.
 4      19. Defendant also failed to inform Plaintiff that it is a debt collector. See Exhibit A.
 5      20. Defendant uses deceptive and misleading representations in connection with its attempts
 6         to collect the alleged debt by not identifying itself, by not disclosing the true purpose of
 7         its phone call, by not disclosing that it is a debt collector, and by exaggerating the
 8         purpose of its call by claiming it was “very important” in order to deceive Plaintiff.
 9
                                  COUNT I
10       DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
11      21. Defendant violated the FDCPA based on the following:
12             a. Defendant violated § 1692d of the FDCPA by engaging in conduct the natural
13                 consequence of which is to annoy Plaintiff.
14             b. Defendant violated § 1692d(6) of the FDCPA by not disclosing its identity in its
15                 communication with Plaintiff.
16             c. Defendant violated §1692e of the FDCPA by using false, deceptive, and
17                 misleading representations in connection with the collection of any debt.
18
               d. Defendant violated § 1692e(10) of the FDCPA by using deceptive means to
19
                   collect or attempt to collect a debt.
20
               e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose that its
21
                   communication was from a debt collector.
22
           WHEREFORE, Plaintiff, WANDA HENRY, respectfully requests judgment be entered
23
     against Defendant, GC SERVICES, LP, for the following:
24
        22. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15
25
           U.S.C. 1692k.


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 1      23. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,
 2         15 U.S.C. 1692k.
 3      24. Any other relief that this Honorable Court deems appropriate.
 4                                COUNT II
           DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
 5                             PRACTICES ACT
 6      25. Plaintiff repeats and realleges all of the allegations in Count I of Plaintiff’s Complaint as
 7         the allegations in Count II of Plaintiff’s Complaint.
 8      26. Defendant violated the RFDCPA based on the following:
 9             a. Defendant violated the §1788.11(b) of the RFDCPA by not disclosing
10                 Defendant’s identity to Plaintiff.
11             b. Defendant violated the §788.17 of the RFDCPA by continuously failing to
12                 comply with the statutory regulations contained within the FDCPA, 15 U.S.C. §
13                 1692, et seq. to wit: Sections §§ 1692d and 1692e.
14         WHEREFORE, Plaintiff, WANDA HENRY, respectfully requests judgment be entered
15   against Defendant, GC SERVICES, LP, for the following:
16      27. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection Practices
17         Act, Cal. Civ. Code §1788.30(b).
18      28. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection
19         Practices Act, Cal. Civ Code § 1788.30(c).
20      29. Any other relief that this Honorable Court deems appropriate.
21         DATED: April 8, 2013                     RESPECTFULLY SUBMITTED,
22                                                  KROHN & MOSS, LTD.
23
                                               By: /s/ Douglas Baek                    .
24
                                                    Douglas Baek
25                                                  Attorney for Plaintiff


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                                         PLAINTIFF’S COMPLAINT
